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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2015 OK 45Case Number: SCBD-6273Decided: 06/15/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 45, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2014
ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE 
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION
¶1 On June 1, 2015, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2014 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch.&nbsp;1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit &nbsp;A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules. 
¶2 This Court finds that on March 13, 2015, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended. 
¶3 This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit&nbsp;A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated. 
¶4 IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2014.
¶5 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 15TH DAY OF JUNE, 2015.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.

EXHIBIT A
(MCLE - Suspension)
Kelly Dawn Bell, OBA No. 19403
7753 South Mingo
Tulsa, OK 74133
Will Douglas Bradley, OBA No. 12079
9028 Northwest 93rd Circle
Yukon, OK 73099
Jonathan Nathaneal Carter, OBA No. 31329
6803 S. Western, Ste. 405
Oklahoma City, OK 73139
Edward Jefferies Clarke, OBA No. 18675
511 Couch Dr., Ste. 300
Oklahoma City, OK 73102-2250
Mitchell Kenneth Coatney, OBA No. 21066
1904 Meadowbrook St.
Ponca City, OK 74604-3011
Becky Jane West Dias, OBA No. 16642
1525 E. Republic Road, Ste. B-135
Springfield, MO 65804
Carylee Katharine Eisenberg, OBA No. 13031
P. O. Box 1156
Erick, OK 73645
Cynthia Shea Goosen, OBA No. 21569
32 Timbercreek
Sherman, TX 75092
Elizabeth Anne Hart, OBA No. 18245
1654 Merton Court
Windsor, CO 80550
Christopher M. Hunt, OBA No. 13193
P. O. Box 1740
Owasso, OK 74055
Christina Sue Jackman, OBA No. 30387
208 E. Johnson
Norman, OK 73069
Mitchell Kevin Leonard, OBA No. 13842
1 W. Main, Ste. 100
Idabel, OK 74745
Stephen S. Parker, OBA No. 12433
101 Park Ave., Suite 600
Oklahoma City, OK 73102
William John Patterson, OBA No. 11148
P.O. Box 509
Ketchum, OK 74349
John Bernard Sullivan, OBA No. 20548
107 W. Main
Ardmore, OK 73401
James Wesley Todd, OBA No. 19956
217 N. Harvey Avenue, Suite 507
Oklahoma City, OK 73102
Claire McNearney Trinidad, OBA No. 11428
18700 Slick Rd.
Kellyville, OK 74039-4787
Michael R. Warkentin, OBA No. 11721
1225 W. Main, Ste. 122
Norman, OK 73069-6869
Sharon Kay Jackson Wendell, OBA No. 30803
700 Louisiana, Suite 4100
Houston, TX 77002
Travis Lee Wright, OBA No. 20560
1314 S. Denver Ave., Apt. 6
Tulsa, OK 74119




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